









Dismissed and Memorandum Opinion filed December 9, 2004









Dismissed and Memorandum Opinion filed December 9,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00840-CV

____________

&nbsp;

APPROXIMATELY
$6,932.00, CLINTON CALEB OWENS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
157th District Court

Harris County,
Texas

Trial Court Cause No. 03-62224

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed June 22, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On October 28, 2004, notification was transmitted to all parties
of the Court=s intent to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed December 9, 2004.

Panel consists of Justices Yates,
Edelman, and Guzman.

&nbsp;





